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Dennis M. Cariello

From:                                   Dennis M. Cariello
Sent:                                   Wednesday, June 27, 2018 12:13 PM
To:                                     Mangold, Donna; Frola, Michael
Cc:                                     Jonathon C. Glass (jglass@cooley.com)
Subject:                                RE: GCU


Thanks for this. Jonathan and I just left you a voicemail. Can we speak later today? I understand the difficulty with the letter, but even hearing orally
the direction the Department is headed would be somewhat helpful.

Let me know what works.

And as always, thanks.

Dennis

Dennis M. Cariello
Shareholder




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From: Mangold, Donna [mailto:Donna.Mangold@ed.gov]
Sent: Wednesday, June 27, 2018 11:58 AM
To: Dennis M. Cariello; Frola, Michael
Cc: Jonathon C. Glass (jglass@cooley.com)
Subject: RE: GCU

Thanks for the study. I don’t have an estimate for the pre-acq response, but will try to check in with you again tomorrow or Friday.

From: Dennis M. Cariello [mailto:dennis.cariello@hmbr.com]
Sent: Tuesday, June 26, 2018 12: 06 PM
To: Mangold, Donna; Frola, Michael
Cc: Jonathon C. Glass (jglass@cooley.com)
Subject: GCU


Donna,

As requested, attached is the transfer pricing study from Deloitte. Please let me know if you have any questions or
would like to discuss this further.

While I have you – any word on an ETS on the pre-acquisition review?

Thanks,

Dennis


Dennis M. Cariello                                                                            AR-J-0131
Shareholder
